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 6                      United States District Court
 7                      Central District of California
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 9   KEVIN A. SHAW,                               Case No. 2:17-cv-02386-ODW-PLA
10                     Plaintiff,
11          v.                                    ORDER GRANTING, IN PART,
     KATHLEEN F. BURKE, in her individual         PLAINTIFF’S MOTION FOR
12                                                LEAVE TO FILE AN AMENDED
     and official capacities; EARIC DIXON-
13   PETERS, in his individual and official       COMPLAINT [52]
14   capacities; WILLIAM A. MARMOLEJO,
     in his individual and official capacities;
15
     JUAN C. ASTORGA, in his individual and
16   official capacities; FRANCISCO C.
     RODRIGUEZ, in his official capacity;
17
     SCOTT J. SVONKIN, in his official
18   capacity; SYDNEY K. KAMLAGER, in
19   her official capacity; MIKE FONG, in his
     official capacity; MIKE ENG, in his
20   official capacity; ANDRA HOFFMAN, in
21   her official capacity; ERNEST H.
     MORENO, in his official capacity;
22
     NANCY PEARLMAN, in her official
23   capacity; and JOHN DOE, in his individual
24   and official capacities,

25
                       Defendants.

26
                                     I.   INTRODUCTION

27
           On March 28, 2017, Plaintiff Kevin Shaw filed a Complaint against Defendants

28
     Kathleen F. Burke, Earic Dixon-Peters, William A. Marmolejo, Juan C. Astorga,
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 1   Francisco C. Rodriguez, Scott J. Svonkin, Sydney K. Kamlager, Mike Fong, Mike
 2   Eng, Andra Hoffman, Ernest H. Moreno, Nancy Pearlman, and one fictitiously named
 3   John Doe1 (“Doe”) (collectively, “Defendants”). Plaintiff alleges six causes of action
 4   arising from violations of his right to free speech as a student at Los Angeles Pierce
 5   College (“Pierce”). (Compl. ¶¶ 89–137, ECF No. 1.) After repeatedly stipulating to
 6   extend the deadline to discover Doe’s real name and file an amended complaint
 7   naming him, Plaintiff identified Doe in February 2018. (Mot. Leave Amend ¶ 4, ECF
 8   No. 52; Decl. of Arthur I. Willner (“Willner Decl.”) ¶ 9, Ex. 8, ECF No. 52-1.)
 9   Plaintiff subsequently filed a Motion for Leave to File an Amended Complaint on
10   April 9, 2018. (See Mot. Leave Amend.) For the following reasons, the Court
11   GRANTS, in part, and DENIES, in part, Plaintiff’s Motion. 2
12                                       II.    BACKGROUND
13   A.     Factual Background
14          Plaintiff is pursuing his associate’s degree at Pierce, one of nine community
15   colleges within the Los Angeles Community College District (“LACCD”). (Compl.
16   ¶ 14.) In keeping with broader LACCD policies, Pierce limits free speech on campus
17   to a small, designated “Free Speech Area.” (Id. ¶¶ 40–45.) The Free Speech Area is
18   noted on the campus map; however, Pierce does not “publish rules or regulations
19   regarding free speech or expressive activity specific to its campus.” (Id. ¶¶ 40, 43.)
20   The rules regarding use of the Free Speech Area are only printed on applications for
21   use of the area. (Id.) It “is not open to spontaneous or anonymous speech[,] because
22   individuals must fill out an application for use of [it] . . . and identify themselves and
23
     1
       The Court notes that “[g]enerally, Doe pleading is improper in federal court.” Othman v. Globe
24
     Indem. Co., 759 F.2d 1458, 1463 (9th Cir. 1985), overruled on other grounds by Bryant v. Ford
25   Motor Co., 844 F.2d 602 (9th Cir. 1987.) However, “the relation back provisions of state law . . .
     govern a federal cause of action pursuant to 42 U.S.C. § 1983.” Merritt v. Cnty. of Los Angeles, 875
26   F.2d 765, 768 (9th Cir. 1989); see also Lindley v. General Elec. Co.¸780 F.2d 797, 800 (9th Cir.
27   1986). Accordingly, Plaintiff’s request to include an additional, fictitiously named defendant, is
     proper. See Merritt, 875 F.2d at 768.
     2
28     After considering the papers filed in connection with the Motion, the Court deemed the matter
     appropriate for decision without oral argument. Fed. R. Civ. P. 78(b); C.D. Cal. L.R. 7-15.



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 1   their organizations . . . .” (Id. ¶ 51.) Even when students receive a permit for its use,
 2   the permit itself contains additional rules and regulations governing student speech.
 3   (Id. ¶¶ 43–44, Ex. C.)
 4          Plaintiff first became aware of these requirements on November 2, 2016. A
 5   school administrator, named in Plaintiff’s Complaint as fictitious Defendant Doe,
 6   informed Plaintiff that he and his friends—members of the student group Young
 7   Americans for Liberty—were violating school policy by handing out Spanish-
 8   language copies of the U.S. Constitution and discussing free speech issues with Pierce
 9   students outside of the Free Speech Area. (Id. ¶¶ 14, 56–60.) Doe required Plaintiff
10   to accompany him to the office to fill out and sign a permit application. (Id. ¶ 62.) He
11   also refused to provide Plaintiff with a signed copy of the permit application. (Id. ¶
12   63.)
13          In the weeks following that initial encounter, Plaintiff repeatedly requested a
14   copy of his application for a permit. (Id. ¶¶ 68–85.) The administration repeatedly
15   denied Plaintiff’s request for a copy and rebuffed his attempts to meet with
16   administration. (Id. ¶¶ 74–79.) Plaintiff finally obtained a copy of his application and
17   the rules on December 8, 2016. (Id.) After reviewing them, he became fearful that
18   further exercise of his right to free speech on Pierce’s campus would lead to discipline
19   for violating the Standards of Student Conduct or removal from campus by the
20   Sheriff’s office. (Id. ¶ 88.)
21   B.     Procedural Background
22          On March 28, 2017, Plaintiff filed a Complaint, alleging five causes of action
23   for violations of his free speech rights, pursuant to 42 U.S.C. § 1983, and one cause of
24   action for related declaratory relief, pursuant to 28 U.S.C. § 2201. (Id. ¶¶ 89–137.)
25   Plaintiff brought the suit against numerous Pierce College administrators, the LACCD
26   Chancellor, and members of the LACCD Board of Trustees (collectively, “Answering
27   Defendants”). (See Compl.) He also alleged claims against “John Doe,” the unnamed
28   college administrator discussed above. (See id. ¶ 5.)




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 1         Plaintiff thought he identified the administrator in July 2017. (Willner Decl.
 2   Ex. 3.) However, Answering Defendants told Plaintiff that he did not have the right
 3   person and that they “did not have the authority to disclose Defendant John Doe’s
 4   identity.” (Willner Decl. Ex. 4.) The parties stipulated to, and the Court ordered,
 5   additional time to identify and serve the unnamed administrator, on three occasions.
 6   (ECF Nos. 31, 32, 34, 36, 46.) Throughout this period, Plaintiff continued his efforts
 7   to identify Doe, even sending videos to Defendants to help identify him. (Willner
 8   Decl. ¶¶ 6–7.)
 9         On February 26, 2018, Answering Defendants served their Initial Disclosures
10   on Plaintiff. (Willner Decl. Ex. 8.) Defendants’ initial disclosures identified Charles
11   Johnson, whose testimony would include:
12
                  [I]nteractions he had with Plaintiff . . . including those wherein
13                he informed Plaintiff about the Free Speech Area after
14
                  observing Plaintiff distributing materials in the campus Mall, as
                  well as subsequent conversations regarding obtaining a copy of
15                Plaintiff’s completed “Use of Free Speech Area” form.
16   (Id. ¶ 6.)   On March 7, 2018, before the previously extended deadline expired,
17   Plaintiff asked Answering Defendants if they would stipulate to allow Plaintiff to file
18   an amended complaint naming Johnson in place of Doe. (Willner Decl. Ex. 2.)
19   Answering Defendants agreed. (Id.)
20         Plaintiff emailed Answering Defendants a proposed stipulation and First
21   Amended Complaint on March 22, 2018, one week after the previously stipulated
22   March 15 deadline. (Id. Ex. 9.) On March 27, 2018, Answering Defendants replied,
23   explaining they would no longer stipulate to the amendment since the March 15
24   deadline had passed. (Id. Ex. 10.) Plaintiff argues that Answering Defendants never
25   indicated that their agreement to stipulate was subject to Plaintiff meeting the March
26   15 deadline. (Id. Ex. 11.)
27         On April 9, 2018, Plaintiff moved for leave to file his First Amended
28   Complaint. (See Mot. Leave Amend.) Answering Defendants opposed on April 16,




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 1   2018, (Opp’n, ECF No. 56), and Plaintiff filed a Reply on April 23, 2018. (Reply,
 2   ECF No. 57.)
 3                               III.     LEGAL STANDARD
 4         Amendments to a party’s complaint are permitted as a matter of course within
 5   twenty-one (21) days of service of a motion or twenty-one (21) days of service of a
 6   responsive pleading. Fed. R. Civ. P. 15(a)(1). However, if a party can no longer
 7   amend as a matter of course, the amending party must obtain “the opposing party’s
 8   written consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). When determining
 9   whether leave to amend should be granted, the Court considers: (1) bad faith, (2)
10   undue delay; (3) prejudice to the opposing party; (4) futility of amendment, and (5)
11   prior amendment to the Complaint. Pepsi-Cola Metro. Bottling Co. v. Ins. Co. of N.
12   Am., CV 10-2696 SVW (MANx), 2010 WL 11549719, at *1 (C.D. Cal. Nov. 18,
13   2010).
14         A court should “freely give leave [to amend] when justice so requires.” Id.; see
15   also DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 187 (9th Cir. 1987) (noting that
16   the party opposing amendment bears the burden of showing prejudice). However, the
17   court may deny leave to amend “[w]here the party seeking amendment knows or
18   should know of the facts upon which the proposed amendment is based but fails to
19   include them in the original complaint . . . .” E.E.O.C. v. Boeing Co., 843 F.2d 1213,
20   1222 (9th Cir. 1988).
21                                      IV.   DISCUSSION
22         Rule 15’s “policy of favoring amendments to pleadings is to be applied with
23   extreme liberality.” Zendel v. ABC Video Prods., CV 10-2889-VBF(Ex), 2011 WL
24   13214018, at *2 (C.D. Cal. May 16, 2011). There is a presumption that leave to
25   amend should be granted. Here, Plaintiff requests leave to amend to include claims
26   against Johnson, whose identity was previously unknown. (Mot. Leave Amend 4–6.)
27   Defendants argue that this should not be permitted because of Plaintiff’s bad faith and
28   undue delay, as well as the futility of such an amendment. (See Opp’n.)




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 1   A.     Undue Delay
 2          The first factor the Court considers is whether Plaintiff unduly delayed in
 3   seeking to amend the Complaint. See Griggs, 170 F.3d at 880. Undue delay requires
 4   inquiry into “whether the moving party knew or should have known the facts and
 5   theories raised by the amendment in the original pleading.” Jackson v. Bank of Haw.,
 6   902 F.2d 1385, 1388 (9th Cir. 1990). In considering this, the Court looks to whether
 7   the moving party justified “their delay in moving to file an amended complaint.” Id.
 8   However, “delay alone no matter how lengthy is an insufficient ground for denial of
 9   leave to amend.” United States v. Webb, 655 F.2d 977, 980 (9th Cir. 1981). The
10   Court must also find bad faith or prejudice. Id.
11          Here, Plaintiff took steps to identify the Doe Defendant, and, in July 2017,
12   thought he had identified him. (Mot. Leave Amend 17–18; Willner Decl. Ex. 3.)
13   Answering Defendants then told him he was incorrect, but refused to provide Doe’s
14   actual identity. (Id. Ex. 4.) Plaintiff sent Answering Defendants video footage to help
15   identify him, but they again refused to assist in the correct identification. (Id. ¶¶ 6–7.)
16          Answering Defendants argue that Plaintiff knew the first name of Doe prior to
17   ever filing suit, which demonstrates undue delay.          (See Opp’n 11.)       However,
18   Answering Defendants repeatedly stipulated to the existence of a good faith reason to
19   extend the deadline for Plaintiff to file an amended complaint. (See ECF Nos. 31, 34,
20   46.)   In light of Plaintiff’s documented efforts to identify Doe and Defendants’
21   repeated stipulations to allow amendment, the Court finds that Answering Defendants
22   have not produced sufficient evidence to demonstrate that Plaintiff unduly delayed in
23   seeking to amend the Complaint. Therefore, this factor weighs in favor of granting
24   leave to amend.
25   B.     Bad Faith
26          The Court next considers any display of bad faith by Plaintiff. Griggs, 170 F.3d
27   at 880.   Answering Defendants’ only attempt to demonstrate “bad faith” by the
28   Plaintiff centers on Plaintiff’s failure to meet the March 15, 2018 filing deadline.




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 1   (Opp’n 14.) However, bad faith requires more than this. See, e.g. Bonin v. Calderon,
 2   59 F.3d 815, 846–47 (9th Cir. 1995) (finding bad faith where a party attempted to
 3   amend seven months after the court took the case under submission); Sorosky v.
 4   Burroughs Corp., 826 F.2d 794, 805 (9th Cir. 1987) (finding bad faith where
 5   defendant sought to add a plaintiff solely to destroy diversity jurisdiction). Answering
 6   Defendants’ allegations amount, at most, to negligence on the part of the Plaintiff and
 7   certainly fall far short of any demonstration of bad faith, especially where Answering
 8   Defendants initially agreed to allow the amendment. (See Opp’n 15.) Thus, this also
 9   weighs in favor of leave to amend.
10   C.    Prejudice to the Opposing Party & Prior Amendment
11         The court next considers whether Plaintiff has previously amended the
12   Complaint and whether allowing amendment would be prejudicial to the Answering
13   Defendants. Pepsi-Cola, 2010 WL 11549719, at *1. This is Plaintiff’s first attempt to
14   amend the Complaint. (See Docket.) Additionally, Answering Defendants do not
15   even attempt to argue that the amendment would be prejudicial. (See generally
16   Opp’n.) Both these factors also support granting leave to amend.
17   D.    Futility of Amendment
18         Finally, Answering Defendants assert that leave to amend should be denied
19   because it is futile. (Id.) It is well-established that the Court need not accommodate
20   futile amendments. Newland v. Dalton, 81 F.3d 904, 907 (9th Cir. 1996); see also
21   United States ex rel. Lee v. SmithKline Beecham, Inc., 245 F.3d 1048, 1502 (9th Cir.
22   2001) (internal citation omitted) (“Futility of amendment can, by itself, justify the
23   denial of a motion for leave to amend.”). A proposed amendment is futile when,
24   “before discovery is complete . . . [,] no set of facts can be proved under the
25   amendment which would constitute a valid claim or defense.” Breakdown Servs., Ltd.
26   v. Now Casting, Inc., 550 F. Supp. 2d 1123, 1132 (C.D. Cal. 2007). Such is not the
27   case for all of Plaintiff’s claims here.
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 1         As a preliminary matter, Answering Defendants argue that, “to the extent this
 2   Court found the Pierce College Defendants to be entitled to both Eleventh
 3   Amendment and [q]ualified [i]mmunity, [Johnson] would likewise be immune from
 4   monetary damages in both his individual and official capacities.”      (Opp’n 16.)
 5   Answering Defendants do not, however, address the possibility that declaratory or
 6   injunctive relief could be granted based upon Johnson’s actions. (See id. 16–17.)
 7   Thus, regardless of whether qualified immunity applies here, leave to amend is not
 8   futile because some of the relief Plaintiff seeks from Johnson survives a qualified
 9   immunity analysis. (See, e.g., Compl. ¶ 132.)
10         The Court agrees with Answering Defendants that—for the same reasons the
11   Court already explained in its Order Denying, In Part, and Granting, In Part,
12   Defendants’ Motion to Dismiss—Johnson is immune from suit for monetary relief.
13   (ECF No. 45.)     Plaintiff notes that Answering Defendants specifically excluded
14   Defendant Doe (now Johnson) from their Motion to Dismiss. (Memo in Support Mot.
15   Dismiss 1, ECF No. 22.) However, it would be futile to permit Plaintiff to amend the
16   Complaint to include claims for monetary relief, which are barred on qualified
17   immunity grounds. (Order, ECF No. 45.) Thus, the Court GRANTS Plaintiff leave
18   to amend his Complaint to name Johnson, inasmuch as he brings claims for injunctive
19   or declaratory relief against him. However, the Court DENIES Plaintiff leave to
20   amend his Complaint as to his claims for monetary relief because they are barred on
21   qualified immunity grounds.
22                                    V.   CONCLUSION
23         For the reasons discussed above, the Court GRANTS, in part, and DENIES,
24   in part, Plaintiff’s Motion for Leave to File an Amended Complaint. (ECF No. 52.)
25   The Court GRANTS leave to amend the Complaint as to Plaintiff’s claims for
26   injunctive and declaratory relief against Johnson.
27   //
28   //




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 1   //
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 6   However, the Court DENIES leave to amend as to the monetary damages claims
 7   against Johnson because leave would be futile. The Court ORDERS the Plaintiff to
 8   file the First Amended Complaint no later than May 18, 2018.
 9
10         IT IS SO ORDERED.
11
12         May 1, 2018
13
14                               ______________________________
                                  __________________________________
15
                                        OTIS D. WRIGHT, II
16                               UNITED STATES DISTRICT JUDGE
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